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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

      IN RE: VALSARTAN, LOSARTAN, AND
      IRBESARTAN PRODUCTS LIABILITY
      LITIGATION                                        Hon. Robert. B. Kugler



      This Document Relates To:                         Civ. No. 19-2875 (RBK/JS)

      All Actions




                    MSPRC’s BRIEF ON DISCOVERY ISSUES
               AS ORDERED BY THE COURT ON OCTOBER 6, 20221




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   Defendants argue in their motion that the Court should set deadlines for damage
  experts. This is not the issue on which the Court requested briefing. What’s more,
  defendants only proposed a schedule for damages experts today. Plaintiffs intend
  to meet and confer with defendants on this issue. The issue of deadlines is a case-
  management decision that the Court ought to make after the parties have fully
  conferred and is not the subject of this motion. This is not a subject of the briefing
  permitted by the Court, and Plaintiffs assume the Court will set such deadlines as a
  case management decision at the appropriate time.
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                                  INTRODUCTION

        Defendants have belatedly requested a long list of categories of discovery

  from the TPP Plaintiffs through a letter dated September 1, 2022, years after fact

  discovery closed. Plaintiffs nonetheless compromised their objections to the

  requests and agreed to produce the majority of the documents requested;

  specifically, documents from seven of the ten categories of materials defendants

  sought.

        Unsatisfied, in their October 4, 2022 letter to the Court, defendants raised a

  dispute as to three remaining document requests to MSP Recovery Claims, Series

  LLC (“MSPRC”). Dkt. No. 2167 at 5. These requests seek documents that are of

  no use to defendants (or their experts) and can only be characterized as a fishing

  expedition for highly proprietary and confidential documents. Defendants seek the

  production of documents or information responsive to the following requests (the

  numbering is the same as that in defendants’ October 4 letter; MSPRC already

  agreed to produce materials in response to Nos. 1, and 5-10):

        2.    Subsidy, Reimbursement, and Rebate Data: TPP Plaintiff shall
        produce in Excel format data reflecting all subsidies, reimbursements, and
        rebates received by TPP Plaintiff from Center for Medicare and Medicaid
        Services (“CMS”), including but not limited to all prescription drug event
        (“PDE”) reports and all PDE payment records reflecting reimbursement
        requests and payments for valsartan drugs, during the time period for which
        TPP Plaintiff is seeking damages (the “Relevant Time Period”).

        3.     CMS [Centers for Medicare & Medicaid Services] Bids: TPP
        Plaintiff shall produce all materials submitted in connection with its bid


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        submissions to CMS as a sponsor for Medicare Part D prescription drug
        plans for each of the contract years that correspond with the Relevant Time
        Period.

        4.     Internal Reporting: TPP Plaintiff shall produce any internal
        reporting analyzing or reflecting projections and actual spend on Part D
        prescription drugs during the Relevant Time Period.

        Subsequent to the October 6, 2022 hearing, as part of a proposed

  compromise, MSPRC told defendants that it is open to producing documents

  related to the “Subsidy, Reimbursement, and Rebate Data” that defendants seek.

  Yet defendants insist on the production of 10 years of highly confidential and

  proprietary CMS bids, and 10 years of the assignors’ internal reports analyzing

  projections (not actual spend) on all Part D prescription drug expenditures (not just

  valsartan), where these forward-looking estimates and projections are not, and

  cannot be, proof of actual damages.

        Defendants contend that all three categories of documents are necessary to

  “evaluate and challenge Plaintiffs’ damages methodology.” Dkt. No. 2167 at 7.

  Defendants have failed to demonstrate, or even suggest, how this plainly

  proprietary and highly confidential information would be relevant, much less

  necessary, to their analysis. In fact, one of their own experts opined that it would

  be “very difficult to accurately determine the amount paid for the at-issue VCDs.”

  Dkt. No. 2009-18, Timothy Kosty Rep. at 49. The Court should deny the requests

  for several reasons.



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        First, as part of a significant compromise, MSPRC told defendants that it

  was open to producing historical facts, that is, data on Medicare rebates,

  reimbursements, and pharmacy expenditures for past years—in other words, what

  was actually paid by CMS. This, despite the fact that this data is aggregated,

  meaning that it is not specific to any particular drug or service, and thus provides

  no competent evidence to prove what defendants apparently seek—that is, that the

  government paid any particular amount to the TPPs as a “reimbursement” for what

  was spent to purchase valsartan. In fact, to date, defendants have been unable to

  articulate any model or methodology by which they could derive amounts

  attributable to valsartan from this aggregate data.

        Projections on future pharmacy expenditures are even more attenuated and

  are similarly aggregated and not relevant or probative to any damages assessment.

  The assignors’ pharmacy-spend projections, which also are included in their CMS

  bids, are aggregated for all drugs and all plan members. This litigation concerns

  defendants’ manufacture, distribution, and sale of contaminated, valsartan-

  containing drugs (“VCDs”). Quite apart from the fact that defendants’ requests

  seek hypothetical projections, they demand information that does not pertain to

  what MSPRC’s assignors paid for the contaminated VCDs, because the assignors’

  pharmacy-spend projections, which also are included in their CMS bids, are

  aggregated for all drugs and all plan members. In fact, the Court denied plaintiffs’



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  similar discovery requests to the wholesaler and distributor defendants, which

  successfully argued, in opposing discovery, that profits are aggregated and not kept

  on a per-product basis. See July 6, 2020 Hr’g Tr. 66-67 (wholesalers and

  distributors argued that profits are not kept on a per-product basis, and an undue

  burden would result, because IT, accountants, sales, tax and business units all

  would need to be involved); Dkt. No. 507 at 1-2 (denying demand for “price and

  profit” discovery). Even defendants’ own class expert, Timothy Kosty, agrees.2

  The demanded data is not required to assess damages, and, indeed, cannot be used

  for that purpose.

        Defendants have indicated that the projected expenditures are relevant to

  damages because their expert, Lauren Stiroh, will opine that plaintiffs’ damages

  are the difference between projected expenditures and amounts spent on VCDs.

  That theory convolutes what actually happens and makes no logical sense

  whatsoever. Plaintiffs’ and class members’ damages here are the full amounts paid

  for worthless drugs that could not lawfully be sold. Their projections are irrelevant.

  What the MAOs believed they might spend (in the aggregate) has no bearing



  2
   Dkt. No. 2009-18, Kosty Rpt. at ¶ 50 (“The payments provided from the federal
  government to plan sponsors are independent of spending on a specific drug”)
  (emphasis added); ¶ 84.b (“[Medicare] risk corridor payments are made in
  aggregate at the end of the benefit period and are not directly attributed to specific
  products, classes of products, or individual claims.”).


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  whatsoever on what they actually paid for VCDs and cannot possibly be the basis

  for any damages model that any credible economist could ever concoct.

        Further, MSPRC already produced data showing the amounts its assignors

  paid for the VCDs prior to the recall, and the amounts paid for replacement drugs

  after the recall (which is also irrelevant to damages). With that data in hand, there

  certainly is no need for speculative projections as to the estimated future spend for

  VCDs at any point in time. Defendants have the cold, hard facts, set off with dollar

  signs. The absurdity of their overly broad requests is well illustrated by their

  demand for pharmacy-spend projections for the past decade. Defendants could

  never demonstrate that projections of Medicare Part D expenditures for years

  preceding the recall have any bearing on damages. This is nothing more than an

  overbroad fishing expedition in search of a methodology that does not exist and

  has never been proffered by defendants.

        Second, the assignors’ CMS bids are highly confidential, quintessential trade

  secrets. CMS bidding is highly competitive, and the assignors’ internal spending

  projections and analyses are the very heart of their business. See Declaration of T.

  Mrakovich ¶¶ 2, 3, attached as Exhibit A; Declaration of B. Riff ¶¶ 2, 3, 4, 6,

  attached as Exhibit B. The manifestly unnecessary and invasive production of its

  CMS bids, which contain not only historical data but also closely guarded cost

  projections and other confidential market assumptions, would present an



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  unnecessary risk to both SummaCare’s and Emblem’s core operations. Exhibit B ¶

  2; Exhibit A ¶ 4. In fact, SummaCare, a Medicare Advantage Plan, provides

  services in the most competitive county in the United States. Exhibit B ¶ 2.

         The methodology for making bids is at the heart of the assignors’ businesses

  and are the critical sources and methods of how they compete. Exhibit A ¶ 2;

  Exhibit B ¶ 2. This is a significant, and unreasonable burden, invading the

  proprietary foundation of the assignors’ businesses, and is the flip side to certain

  defendants’ successful arguments blocking plaintiffs’ discovery requests, such as

  the retail pharmacies’ successful argument blocking production of their sale and

  price data. Dkt No. 507. These burdens far outweigh the defendants’ hypothetical

  “need” for this aggregated information that they cannot competently utilize as to

  any claim brought.

        Third, it would be unduly burdensome to require production of highly

  confidential, closely guarded, proprietary CMS bids and Part D projected

  expenditures for the past 10 years. The uncontroverted assignor declarations

  support a finding of undue burden. In addition to the highly confidential nature of

  this information, the production of CMS bids and internal expenditure projections

  for the past 10 years would be an unduly time-consuming process that would

  detract from their open-enrollment duties. The assignors are currently in the open-

  enrollment period for Medicare, which is the busiest time of year for all Medicare



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  Advantage plans. Exhibit A ¶ 7. Attempting to respond to defendants’ overbroad

  requests for irrelevant, speculative projections would put an unnecessary burden on

  the assignors’ business and their ability to provide healthcare insurance. Id.

        For these reasons, and as further demonstrated below, the Court should deny

  the defendants’ Requests.

                                     ARGUMENT

  I.    Defendants’ Discovery Demands Are Untimely, Notwithstanding
        MSPRC’s Good-Faith Effort to Respond to Them

        While MSPRC does not argue that timeliness alone is reason enough to deny

  Defendants’ requests, it is important to note that background against which these

  current requests, served last month, arose.

        MSPRC already answered an exhaustive fact sheet’s narrative questions and

  document demands and produced additional documents in response to defendants’

  follow-up first set of document requests. MSPRC’s assignors separately responded

  to subpoenas issued to them by defendants. Not once in all the years since then did

  defendants bother to seek the highly-sensitive information they now contend they

  sorely need.

        General fact discovery closed quite some time ago. Specifically, under CMO

  No. 23 (Dkt. No. 863) (dated February 11, 2021), both “phase I” and “phase II”

  fact discovery closed on June 1, 2021, and October 4, 2021, respectively. As

  recently as this summer, the Special Master reminded the parties that fact


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  discovery long-since closed: “[Special Master Vanaskie]: Discovery is supposed to

  have been closed except for expert discovery.” July 13, 2022 Hr’g Tr. at 16.

        As case in point, over a year ago, manufacturer defendants attempted to

  serve their “First Set of Global Interrogatories and Requests for Production” on all

  plaintiffs. Special Master Vanaskie disallowed this discovery as untimely and not

  contemplated under existing scheduling and case management orders. See Special

  Master Order No. 23 (Dkt. No. 1304). Judge Kugler overruled defendants’

  objection to Special Master Order No. 23. See Op. & Order (Dkt. No. 1471). In so

  ruling, Judge Kugler noted, among other things, that within the context of this

  MDL, discovery has already been quite fulsome:

        The Court has also reviewed the context of this MDL in its entirety to
        find that document production requests this close to the end of
        discovery emerge as an unthought‐out afterthought. The Court has
        considered the parties’ and the Special Master’s efforts to hammer out
        and amend discovery schedules, not once, but twice, earlier this year
        as well as the parties’ active engagement throughout this year to work
        through the scheduling of depositions, expert reports and other key
        discovery. The Court finds the defendants could have raised their
        discovery requests earlier when the parties were conferring actively.

  Id. Defendants had a years-long opportunity to seek the discovery they purportedly

  needed from MSPRC and its assignors. MSPRC and its assignors timely responded

  to every request and subpoena propounded on them. Discovery is now over and

  has been for quite some time.




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        Again, while MSPRC does not contend here that defendants’ requests for the

  three remaining categories of materials from the ten they sought last month should

  be denied on the timeliness alone, it is important to acknowledge that defendants

  made the tactical litigation decision to forego this discovery during the multi-year

  fact discovery period, and only to pursue it over a year after fact discovery closed.

  II.   The Requests, which Seek Aggregated Data for All Medicare Part D
        Prescriptions for the Past Decade, Are Not Relevant

        A.     Background—CMS Bids are Filled with Proprietary Projections

        CMS bids and internal projections on pharmacy spends are aggregated data

  that contain historical information, risk assessments, cost projections, and other

  market assumptions to arrive at an estimated cost of administering pharmacy

  benefits under Medicare Part D. Below is a brief summary of the CMS bidding

  process and Medicare Part D statutory and regulatory framework.

        CMS bidding is highly specialized, technical, and complex. A bid is

  essentially a series of data fields and data points submitted to CMS. A Medicare

  Part D sponsor must submit a separate bid for each prescription drug plan that it

  intends to offer. See CMS, CY 2023 Bid Pricing Tools (BPT) and Instructions,

  available at https://www.cms.gov/medicarehealth-

  plansmedicareadvtgspecratestatsbid-forms-instructions/2023 (last accessed Oct.

  20, 2022). CMS requires specific information to be submitted electronically

  through a CMS-approved electronic format, its Prescription Drug Bid Pricing Tool.


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  See CMS, Instructions for Completing the Prescription Drug Plan Bid Pricing

  Tool for Contract Year 2023, at 1, available at

  https://www.cms.gov/medicarehealth-plansmedicareadvtgspecratestatsbid-forms-

  instructions/2023 (last accessed Oct. 20, 2022). The bid must reflect the revenue

  requirement of the expected population. Thus, Part D sponsors “must use credible

  bid-specific experience in the development of projected allowed costs.” Id. at 6.

  Part D sponsors are required to complete several worksheets as part of the bidding

  process. These worksheets require data on numerous items such as risk scores,

  number of members, total number of prescriptions, total allowed dollars, average

  allowed amount per member, average paid amount per member, average cost

  sharing per member, rebates, reimbursements, per-member per month non-benefit

  expenses, and per-member per-month premium revenue. Id. at 29-33. Projections

  based on utilization of drugs, costs of drugs (including inflation trends and

  formulary changes) also are required. Id. at 35-37. None of this has anything at all

  to do with what the assignors paid for contaminated VCDs or what they received

  from Medicare.

        B.     CMS Bids and Projected Pharmacy Spends Are Irrelevant

        Under Federal Rule of Civil Procedure 26(b)(1), a party may obtain

  discovery on any nonprivileged matter that is “relevant to any party’s claim or

  defense and is proportional to the needs of the case . . . .” Although the scope of



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  discovery is broad, “it is not unlimited.” Plump v. La Salle Univ., 2020 WL

  3250532, at *2 (E.D. Pa. June 15, 2020) (citing Bayer AG v. Betachem, Inc., 173

  F.3d 188, 191 (3d Cir. 1999)). “Discovery should not serve as a fishing

  expedition.” Id. (citing Upshaw v. Janssen Res. & Dev., LLC, 2014 WL 1244047,

  at * 3 (E.D. Pa. Mar. 26, 2014)). The party seeking discovery “has the burden of

  showing that the information sought is relevant to the subject matter of the action

  and may lead to admissible evidence.” Caver v. City of Trenton, 192 F.R.D. 154,

  159 (D.N.J. 2000). Here, defendants’ requests for CMS bids and internal spend

  projections are irrelevant for at least three reasons.

        First, this Court already found “that contaminated drugs are economically

  worthless at the point of sale by virtue of the dangerousness caused by their

  contamination, regardless whether the sold VCDs actually achieved the medical

  purpose of lowering blood pressure.” ECF No. 775 at 20 (emphasis added). Any

  inquiry into whether plaintiffs’ aggregated Part D expenses exceeded their

  projections is wholly irrelevant. Defendants cite a fully distinguishable case, In re

  Namenda Indirect Purchaser Antitrust Litig., 2022 WL 3362429, at *11 (S.D.N.Y.

  Aug. 15, 2022), to argue that CMS bids and projected pharmacy spends are

  somehow relevant to plaintiffs’ damages. Unlike In re Namenda, this action does

  not allege anticompetitive behavior or violations of antitrust laws in delaying the

  market entry of generic drug competition. See In re Namenda Indirect Purchaser



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  Antitrust Litig., 338 F.R.D. 527, 538 (S.D.N.Y. 2021). That is a very different

  context from here. Further, although the In re Namenda district court concluded,

  without citation of any authority or analysis, that actual reimbursements and

  subsidies should be deducted from damages, see 2022 WL 3362429, at *11, it did

  not hold that CMS bids or internal pharmacy-spend projections were relevant to

  damages in any way. See id. Thus, In re Namenda does not support defendants’

  argument that the requested information is relevant.

        Second, defendants’ requests demand production of irrelevant, non-probative

  information because CMS bids and internal pharmacy-spend projections are

  aggregated data. Exhibit A ¶¶ 4, 5; Exhibit B ¶ 3. This litigation concerns the

  defendants’ manufacture, distribution, and sale of contaminated VCDs. It is simply

  impossible to identify drug-level projections or even condition-based projections

  from the aggregated projections for all Part D expenditures contained in CMS bids.

        Third, even if defendants somehow could disaggregate the data (they can’t)

  it still would be irrelevant to damages. Defendants incorrectly contend that

  pharmacy-spend projections are relevant to damages because their expert, Lauren

  Stiroh, may, in the future, opine that TPP’s damages are the difference between

  their projected expenditures and actual spend on VCDs. This makes no economic

  sense because what a plaintiff thought its expenses might have been going forward

  is irrelevant to the damage that it actually suffered. It also ignores the fact that the



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  same expert already testified that



                                           Dkt. No. 2046-2 (under seal), L. Stiroh

  Dep. Tran. 89:3-5; 94:10-11 (emphasis added). The value received here was zero,

  as the Court already held.

        Finally, MSPRC has already produced the historical data on the assignors’

  actual expenditures for VCDs during the relevant time period, has already

  produced data on payments made for replacement drugs necessitated by

  defendants’ contaminated VCDs, and has stated that it was open to producing the

  aggregated data related to any rebates, reimbursements, or premiums for all Part D

  prescriptions. MSPRC should not be required to produce CMS bids and internal

  spend projections would contain voluminous data that is entirely irrelevant to

  payments for VCDs, such as projections for offsets, inflation, and population risk.

  The overbreadth of the defendants’ requests strongly militates against production.

  See, e.g., Synthes Spine Co., L.P. v. Nash, 2006 WL 8459388, at *1 (E.D. Pa.

  2006) (denying motion to compel where requests for access to a party’s computer

  failed to “protect from disclosure both privileged documents and highly private or

  personal information with no relevance to this litigation”).

        Accordingly, the Court should deny defendants’ requested discovery.




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  III.   The Requests Are Unduly Burdensome and not Proportional to the
         Needs of the Action

         Rule 26(b)(1) requires that even relevant discovery must be proportional to

  the needs of the action, considering “the importance of the issues at stake in the

  action, the amount in controversy, the parties’ relative access to relevant

  information, the parties’ resources, the importance of the discovery in resolving the

  issues, and whether the burden or expense of the proposed discovery outweighs its

  likely benefit.” Defendants demand production of CMS bids and internal

  projection data for all Medicare Part D prescriptions for the past 10 years. This

  request is, on its face, overly broad and unduly burdensome. E.g., United States v.

  Town of Irmo, S.C., 2020 WL 1025686, at *6 (D.S.C. Mar. 3, 2020) (“The ten-

  year timeframe of [the discovery requests] are overly broad.”); Apex Mortg. Corp.

  v. Great N. Ins. Co., 2018 WL 341661, at *7 (N.D. Ill. Jan. 9, 2018) (“[R]equiring

  [defendant] to locate the requested documents for the requested ten-

  year time span would be unduly burdensome and not proportional to the needs of

  this case.”).

         As noted above, the Court previously denied discovery on similar grounds.

  Plaintiffs sought discovery of price and profits from the wholesaler and retailer

  defendants. ECF No. 507 at 1-2. Those defendants argued that they do not keep

  track of profits on a per-product basis. See July 6, 2020 Hr’g Tr. 66-67 (arguing

  profits are not kept on product basis; arguing burden involved, such as IT,


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  accountants, sales, tax, business units). The Court agreed, and the discovery was

  denied. As demonstrated above, the assignors’ pharmacy-spend projections and the

  host of data they are based on are irrelevant to plaintiffs’ damages. Even if it were

  otherwise, they would not be proportional to the needs of the case.

        A.     Alternative, Less Intrusive Means Exist to Obtain Responsive
               Data and a Rebuttal Damages Model

        The rules also require a court to “limit the frequency or extent of discovery

  otherwise allowed . . . if it determines that the discovery sought is unreasonably

  cumulative or duplicative, or can be obtained from some other source that is more

  convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C)(i). “It

  is well established that discovery need not be required of documents of public

  record which are equally accessible to all parties.” AVCO Corp. v. Turn & Bank

  Holdings, Inc., 2015 WL 12834519, at *2 (M.D. Pa. 2015) (internal quotations

  omitted).

        Defendants may access or otherwise request certain non-confidential bid

  data from CMS. CMS lists all Part D sponsors on its website, which can be used to

  identify each sponsor’s contract number. See CMS, Part D Contracts, available at

  https://www.cms.gov/Medicare/Prescription-Drug-

  Coverage/PrescriptionDrugCovContra/PartDContacts (last accessed Oct. 20,

  2022). For example, SummaCare’s Part D contract number with CMS in 2018 was

  H3660. Id. With that contract number, defendants could identify MSPRC’s


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  assignors’ nonconfidential bid data, which is also available online on CMS’s

  website: https://www.cms.gov/Medicare/Health-

  Plans/MedicareAdvtgSpecRateStats/DataFiles (last accessed Oct. 20, 2022).

         That publicly available data includes data from 2006 through 2018, which

  encompasses the time period for the discovery that defendants seek. Id. The data

  sets from CMS include more than 2,915 fields for each of the plans that submitted

  bids. The data dictionary for 2018 bids is attached as Exhibit C.3 Defendants have

  not offered up any argument demonstrating that the publicly available bid

  information is inadequate. The Court should deny defendants’ demand for

  confidential projections, other trade secrets, and proprietary, confidential data that

  were used to determine bid amounts which are publicly available from CMS.

        Further, as noted above, MSPRC already produced data showing the

  amounts its assignors paid for the VCDs prior to the recall and the amounts paid

  for replacement drugs after the recall. As such, there is no need to produce

  speculative projections as to what the assignors thought they might spend for VCDs




  3
   Additional data on Part D benefits also is publicly available from CMS. See CMS,
  Benefits Data, available at https://www.cms.gov/Research-Statistics-Data-and-
  Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/Benefits-
  Data?combine=&items_per_page=10&page=0&order=dlf_2_report_period&sor
  t=desc (last accessed Oct. 20, 2022) (containing data from 2001 to the present).


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  at any point in time,4 because defendants have the data showing what the assignors

  actually spent for VCDs before the recall and for replacement drugs after the

  recall.5

         B.    The Assignors’ CMS Bids and Are Highly Confidential Trade
               Secrets

         Defendants contend that they are entitled to production of EmblemHealth’s

  and SummaCare’s Medicare Part D bids to CMS to “test Plaintiffs’ damages

  methodology and to develop [defendants’] defense . . . .” Ltr. at 7. This is

  essentially an admission that this is nothing but a fishing expedition. Further, the

  assignors’ CMS bids and internal pharmacy-spend projections are highly

  confidential, quintessential trade secrets. What’s more, CMS bidding is highly

  competitive, so the defendants’ weak justification is far outweighed by the

  burdens.

         Although the actual bids and much background data are publicly available,

  the method by which a Part D sponsor arrives at those figures involves complex,




  4
   To be clear, such data does not exist, because all pharmacy-spend data is in
  aggregate form. We make this point assuming, for the sake of argument, that the
  data somehow could be disaggregated. It cannot.
  5
   MSPRC does not concede that this is a proper method of calculating damages or
  that defendants, could be entitled to any reduction in damages for their unlawful
  sale of VCDs that were worthless at the point of sale. MSPRC simply states that
  defendants have sufficient data to run their hypothetical damages models.


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  closely guarded mathematical formulas and market assumptions by its actuaries.

  Exhibit A ¶ 2; Exhibit B ¶ 4. In fact, SummaCare is a Medicare Advantage Plan in

  the most competitive county in the United States, Summit County, Ohio. Exhibit B

  ¶ 2. The wholesale production of its CMS bids, containing historical data, cost

  projections, and other market assumptions, would pose an unnecessary and

  improper risk to its core operations. Exhibit A ¶ 4; Exhibit B ¶ 2; Synthes Spine

  Co., 2006 WL 8459388, at *1 (Requests for access to a party’s computer failed to

  “protect from disclosure both privileged documents and highly private or personal

  information with no relevance to this litigation.”). This alone is an unfair burden.

        There also would be a real concern here over the potential disclosure of

  confidential information contained within the CMS bids. The parties to this

  litigation consist of various pharmaceutical actors all along the supply chain,

  including drug manufacturers, wholesalers, distributors, retail pharmacies and

  pharmacy benefit managers. The confidentiality order in this case does not protect

  against the disclosure of MSPRC’s assignors’ sensitive business information to

  potential competitors. For example, CVS Health Corporation, a retail defendant

  here, offers Medicare Part D benefits through its subsidiary, Aetna, which owns

  Silverscript. See CMS, PDP Plan Directory, available at

  https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-

  Reports/MCRAdvPartDEnrolData/PDP-Plan-Directory (last accessed Oct. 20,



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  2022) (identifying Silverscript Insurance Company with contract number S5601 as

  a subsidiary of CVS Health Corp.); CVS Health, CVS Health Completes

  Acquisition of Aetna, Marking the Start of Transforming the Consumer Health

  Experience (Nov. 28, 2018), available at https://www.cvshealth.com/news-and-

  insights/press-releases/cvs-health-completes-acquisition-of-aetna-marking-the-

  start-of (last accessed Oct. 20, 2022). It is also important to understand that the

  contract between plaintiffs’ assignor SummaCare and its actuary, Milliman, forbids

  the use or disclosure of information contained in or used in connection with CMS

  bids. Exhibit B ¶ 4. Plaintiffs should not be forced to expose their assignors to the

  risk of unfair competition by producing trade secrets.

        Indeed, retail pharmacy and wholesaler defendants vigorously resisted

  producing their purchase data and upstream data for payments by TPPs, and

  heavily redacted their supply contracts, on the basis that the information was so

  extraordinarily commercially sensitive (and constituted trade secrets) that it simply

  could not be produced. And Magistrate Judge Schneider agreed and ruled that

  these defendants need not produce purchasing or cost data. See July 7, 2020 Order

  (Dkt No. 507). If defendants were relieved from having to produce their actual cost

  data and their contractual formulae for how they arrived at those costs because of

  its commercial sensitivity (notwithstanding a protective order), then certainly

  MSPRC should not have to produce equally sensitive bidding information and



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  projections, when it already has produced what its assignors actually spent on

  VCDs.

        C.     Data for All Part D Prescriptions for the Past 10 Years Would be
               Unduly Burdensome to Produce

        The uncontroverted declarations of B. Riff and T. Mrakovich demonstrate

  that the 10 years’ worth of information that defendants have requested is highly

  proprietary and that it would be an undue burden to produce responsive documents.

  Exhibit A ¶¶ 4, 7; Exhibit B ¶ 2. The assignors are currently in the open-enrollment

  period for Medicare, which is the busiest time of year for all Medicare Advantage

  plans. Attempting to respond to defendants’ overbroad requests for irrelevant,

  speculative projections would be an unduly time-consuming process that would put

  an unnecessary burden on the assignors’ business and their ability to provide

  healthcare insurance.

        Further, MSPRC is open to producing historical data on payments made and

  reimbursements/rebates received in an effort to reach a compromise. MSPRC’s

  assignors should not be required to bear the additional, undue burden of producing

  irrelevant trade secrets, merely because defendants speculate that it is relevant to

  their own speculative damages model, which, even considered in the light most

  favorable to them, makes absolutely no economic sense. Again, this is similar to

  the categories of discovery defendants have blocked and objected to as well.




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        For these good and sufficient reasons, the Court should deny defendants’

  requests to MSPRC to produce its assignors’ historical data and confidential CMS

  bid data and pharmacy-spend projections.

                                    CONCLUSION

        For the good and sufficient reasons set forth above, the Court should deny

  defendants’ requests for highly proprietary and confidential documents that have

  no use whatsoever in this litigation.

  Dated: October 20, 2022                    Respectfully Submitted,

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                           CERTIFICATE OF SERVICE
        I hereby certify that on this 20th day of October 2022, a true and correct

  copy of the foregoing was filed and served on all counsel of record by the Court’s

  CM/ECF system.

                                               /s/ Jorge A. Mestre
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